

Matter of Barclays Capital Inc. v Carreras (2024 NY Slip Op 01336)





Matter of Barclays Capital Inc. v Carreras


2024 NY Slip Op 01336


Decided on March 14, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 14, 2024

Before: Kern, J.P., Friedman, Kapnick, Gesmer, Rodriguez, JJ. 


Index No. 656571/17 Appeal No. 1851[M-2023-4615,4829,5091,5177] Case No. 2022-05715 

[*1]In the Matter of Barclays Capital Inc., Petitioner-Respondent,
vJorge Carreras, Respondent-Appellant, Carlos J. Molina, Respondent.


Jorge Carreras, appellant pro se.
O'Brien LLP, New York (A.J. Monaco of counsel), for respondent.



Appeal from amended consent order and judgment (one paper), Supreme Court, New York County (Eileen Bransten, J.), entered November 14, 2018, which confirmed a stipulated arbitration award and entered a final judgment in favor of petitioner and against respondent Jorge Carreras, unanimously dismissed, without costs, as taken by a nonaggrieved party.
As the amended judgment conformed in substance to an earlier judgment entered on consent, respondent Carreras is not an aggrieved party within the meaning of CPLR 5511 and lacks standing to appeal (see Matter of P. A. [Kathleen A.], 217 AD3d 596, 597 [1st Dept 2023]). Carreras never submitted any opposition to the petition to confirm the arbitration award or objected to entry of the judgment or amended judgment. Any contention that the amended judgment varied from what the parties agreed upon should have been addressed through a motion to vacate the judgment (see Matter of Kirk v State Bd. for Professional Med. Conduct, 58 AD3d 910 [3d Dept 2009]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 14, 2024
M-2023-4615, 4829, 5091, 5177 Barclays Capital Inc. v Jorge Carreras et al.
Motion to dismiss appeal, denied as academic (M-4615); motions for leave to file a supplemental record, denied (M-4829; M-5091); motion to remove confidential personal information from the record, granted to the extent of deeming petitioner's moving papers in M-4615 and M-4829 as "confidential" and marking them as such on NYSCEF (M-5177).








